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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA


    v.
                                                 Criminal Action No. 17-232-EGS
    MICHAEL T. FLYNN,

    Defendant.




                      GENERAL FLYNN’S SUPPLEMENT TO
                       HIS CONSENT TO GOVERNMENT’S
                           MOTION TO DISMISS AND
                         HIS OPPOSITION TO AMICUS

         In his Brief in Opposition to Amicus, General Flynn explained why the recently

uncovered exculpatory evidence justified the Government’s Motion to Dismiss

pursuant to Federal Rule of Criminal Procedure 48(a). ECF 228 at 19-29. He also

consented to the Government’s Motion to Dismiss. ECF No. 199. Yesterday, the

Government produced further stunning and exculpatory evidence, previously

withheld from General Flynn, showing that Director Comey himself and the highest

levels of the Obama Administration had the transcripts of Flynn’s phone calls with

officials of other countries and knew General Flynn’s calls were lawful and proper.

         Strzok’s notes believed to be of January 4, 2017, reveal that former President

Obama, James Comey, Sally Yates, Joe Biden, and apparently Susan Rice discussed

the transcripts of Flynn’s calls and how to proceed against him. Mr. Obama himself

directed that “the right people” investigate General Flynn. This caused former FBI




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Director Comey to acknowledge the obvious: General Flynn’s phone calls with

Ambassador Kislyak “appear legit.” According to Strzok’s notes, it appears that Vice

President Biden personally raised the idea of the Logan Act.       That became an

admitted pretext to investigate General Flynn. The notes are attached as Exhibit 1.



Dated: January 24, 2020               Respectfully submitted,

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                         CERTIFICATE OF SERVICE

     I hereby certify that on June 24, 2020 I electronically filed the foregoing brief

with the Clerk of Court using the CM/ECF system.          I further certify that the

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.


                                             Respectfully submitted,

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